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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

    In re:                                                                  Chapter 11

    CENTER CITY HEALTHCARE, LLC d/b/a
    HAHNEMANN UNIVERSITY HOSPITAL, et al.,1                                 Case No. 19-11466 (MFW)
                                Debtors.                                    (Jointly Administered)


    NOTICE OF AGENDA FOR HEARING SCHEDULED FOR DECEMBER 20, 2023 AT
             10:30 A.M. (PREVAILING EASTERN TIME) BEFORE THE
       HONORABLE MARY F. WALRATH, U.S. BANKRUPTCY COURT JUDGE


             THIS REMOTE HEARING WILL BE CONDUCTED ENTIRELY BY ZOOM AND
                   REQUIRES ALL PARTICIPANTS TO REGISTER IN ADVANCE.
             PLEASE USE THE FOLLOWING LINK TO REGISTER FOR THIS HEARING:
         https://debuscourts.zoomgov.com/meeting/register/vJIsd-mqrDMiGrEd4aZ9i0ckAvsj-e-emyo

     After registering your appearance by Zoom, you will receive a confirmation email containing
                                  log-in formation for the hearing.

       ALL PARTIES MUST REGISTER NO LATER THAN 4:00 P.M. (ET) ON DECEMBER 19, 2023


FEE APPLICATIONS:

1.           Thirteenth Interim Fee Application of Saul Ewing LLP, Counsel to the Debtors, for
             Allowance of Compensation and Reimbursement of Expenses for the Period from July 1,
             2022 through September 30, 2022 [Docket No. 4901; filed: 10/11/23]

2.           Fourteenth Interim Fee Application of Saul Ewing LLP, Counsel to the Debtors, for
             Allowance of Compensation and Reimbursement of Expenses for the Period from October
             1, 2022 through December 31, 2022 [Docket No. 4902; filed: 10/11/23]



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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
             are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
             L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
             L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
             L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
             IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
             Street, 4th Floor, Philadelphia, Pennsylvania 19102.


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         Related Documents:

         A.        Supplemental Certification of Saul Ewing LLP in Support of Thirteenth and
                   Fourteenth Interim Fee Applications [Docket No. 5018; filed: 11/30/23]

         B.        Second Supplemental Certification of Saul Ewing LLP in Support of Thirteenth
                   and Fourteenth Interim Fee Applications [Docket No. 5020; filed: 12/01/23]

         C.        Notice of Hearing on Saul Ewing’s Thirteenth and Fourteenth Interim Fee
                   Applications [Docket No. 5023; filed: 12/01/23]

         Status: This matter is going forward.

Dated: December 18, 2023                         SAUL EWING LLP

                                       By:       /s/ Mark Minuti
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                                                 Counsel for Debtors and Debtors in Possession




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